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 AO 442(Rev. I|/M) Arrest Warrant



                                      UNITED STATES DISTRICT COUI
                                                                                                 n!                 L        E
                                                                for the
                                         WESTERN DISTRICT OF WASHINGTQ]                                             i 8 20!9       1:7
                                                                  )                                   CLERK. U.S. DISTRICT COURT
                                                                                                          ALEXANDRIA. VIRGINIA
                  United States of America                        )

                                                                                    Case No. 3:19-cr-05066-CVB
                       LAUREN N DENMARK
                                Defendant


                                                         ARREST WARRANT
To:        Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unneeessary delay
    (name ojperson to be arrested) LAUREN N DENMARK

who is accused of an offense or violation based on the following document filed with the court:

n Indiclmcnt                 D Superseding Indictment       H Information         D Superseding Information             □   Complaint
n Probation Violation           D Supervised Release        D Violation Notice     D Order of the Court
      Petition                      Violation Petition


Brief description of offense:

          MISCELLANEOUS GENERAL OFFENSES, OTHER -Criminal Trespassing in the First Degree




                 Date:    3/27/2019

                                                                                          Issuing ojftcer's signature

      City and state: Taeoma, Washington                                    Kim Brye, Deputy Clerk
                                                                                            Printed name and title

                                                U/\(rf'rLOfj
       This warrant was received on (date) ______               d the person was arrestgd-oTTT^/e^ If / \^l          'j
 at (city and state)




          D.,.     U/if/z^h                                                             Arresting ojftcer's signature/^
                                                                                  D)Fe^/> . D.
                                                                                           Printed name and title
